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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

_______________________________________
                                       )
SEAPLANE ENTERPRISES LLC, ET AL., )
                                       )
            Plaintiffs,                )
                                       )                   Civil Action No.
      v.                               )                   23-10707-FDS
                                       )
CHEN TSUI TUE, ET AL.,                 )
                                       )
            Defendants.                )
_______________________________________)


                ORDER CONCERNING PLAINTIFFS’ CLAIMS AGAINST
                AVIS CAR RENTAL LLC AND MERCURY SERVICES LLC

SAYLOR, C. J.

       On January 16, 2023, plaintiffs Seaplane Enterprises LLC and Neilson Brown filed this

action in the Barnstable County Superior Court against defendants Chen Tsui Tue, Diana Qian,

Avis Car Rental LLC, and Mercury Services LLC. The complaint alleges claims under

Massachusetts state tort law for damages stemming from a vehicular collision that occurred on

May 22, 2022.

       On October 30, 2023, the Court ordered plaintiffs Seaplane Enterprises LLC and Neilson

Brown to show cause in writing within 21 days why any claims against Avis Car Rental LLC

and Mercury Services LLC should not be dismissed under Rule 4(m) for failure to serve process

within 90 days.

       On November 20, 2023, plaintiffs Seaplane Enterprises LLC and Neilson Brown

responded to the Court’s order. Plaintiffs acknowledged that “Avis and Mercury have not been

served.” (Docket No. 26, 2). Plaintiffs explained that they are no longer pursuing any claims
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against Mercury Services LLC, and they believe that a “resolution was reached between Avis,

Mr. Brown, and Seaplane prior to the expiration of the service period.” (Id. at 1). Plaintiffs

requested an additional 60 days to confirm the existence of that resolution with Avis.

       Accordingly, the Court hereby DISMISSES the claim against Mercury Services LLC set

forth in Count Three of the amended complaint pursuant to Fed. R. Civ. P. 4(m). In addition, the

Court hereby GRANTS plaintiffs’ request for a period of 60 days (that is, until January 27, 2024)

to confirm the existence of a resolution with Avis Car Rental LLC. Unless plaintiffs file a

motion for voluntary dismissal, a motion seeking additional time, or other appropriate motion

prior to January 27, 2024, the claim against Avis Car Rental LLC will also be dismissed pursuant

to Fed. R. Civ. P. 4(m).

So Ordered.

                                                 /s/ F. Dennis Saylor IV
                                                 F. Dennis Saylor IV
Dated: November 28, 2023                         Chief Judge, United States District Court




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